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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

DAVID BOGGS and JANICE BOGGS,
f/k/a JANICE PATTERSON,

       Plaintiffs,

-vs-                                             Case No. 8:15-cv-2293-EAK-JSS

NAVIENT SOLUTIONS, INC.,
f/k/a SALLIE MAE,

       Defendant.
                                         /


                     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


        COME NOW the Plaintiffs, DAVID BOGGS and JANICE BOGGS f/k/a JANICE

PATTERSON, and the Defendant, NAVIENT SOLUTIONS, INC. f/k/a SALLIE MAE, by and

through the undersigned and hereby stipulate and agree that this case has been settled and should be

dismissed with prejudice and summarily closed on the Court Docket with each party to bear their own

fees and costs.

        Respectfully submitted this 26th day of February, 2016.



/s/ Octavio Gomez_______                           /s/ Dayle Van Hoose___________
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